 

 

 

 
 

“y Case: 1:06-cv-00420 Document #: 1 Filed: 01/24/06 Page 1 of 11 PagelD #:1

RECEIVED
UNITED STATES DISTRICT COURT :
_ NORTHERN DISTRICT OF ILLINOIS JAN 2 4 2006

ISION.-

EASTERN DIV oy Moet WeRbAGG SO
ERK U.S. DISTRICT couRr

iy “U Mabbou Be If s\\

 

 

(Enter above the full name
of the plaintiff or plaintiffs in

of te a " —- - g6c 0420

 

 

 

 

vs. Case No:

TEWAQERS Henne OF (To be supplied by the Clerk “of this “Coury

accoessenal, PaNemneg JUDGE Nooo

Reigensooatt. Faetle agent wenesrare OER.
Ue aeose’and SUPERVISE Goins coaF pe

 

tt SRheag AN

 

 

(Enter above the full name of ALL
defendants in this action. Do not
al.”

CHECK ONE ONLY:

=

Ww COMPLAINT UNDER THE CIVIL RIGHTS ACT, rire 42 SECTION
1983 U.S. Code (state, county, or municipal defendants)

COMPLAINT UNDER THE CONSTITUTION ("BIVENS" ACTION),
TITLE 28 SECTION 1331(a) U.S. Code (federal defendants)

OTHER (cite statute, if known)

 

BEFORE FILLING OUT THIS COMPLAINT, PLEASE REFER TO "INSTRUCTIONS FOR
FILING." FOLLOW THESE INSTRUCTIONS CAREFULLY.

 

 
 

rn

ir.

 

Case: 1:06-cv-00420 Document #: 1 Filed: 01/24/06 Page 2 of 11 PagelD #:2

Plaintiff(s): |
A. Name: (ia witico, oiachey tedted

B. List all aliases: aa? fered, Daa SRats Males, Badal
C. Prisoner identification number: [20 SB

D. Place of present confinement: Freres  MIUe Wel, . a558
E. Address: Po looX \\3, Somer EM, (,b424 CON putter,

(if there is more than one plaintiff _ then each plaintiff must list his or her name, aliases,
1.D. number, and current address according to the above format on a separate sheet of

paper.)
Defendant(s): ; .
(in A below, place the full name of the first defendant in the first blank, his or her

official position in the second blank, and his or her place of employment in the third
blank. Space for two additional defendants is provided in B and C.)

A. Defendant: EUROS Deprahenests OO Aercecteodal
Tide’ RRESOOR OA Ne Seeds :
Place of Employment:_YSO\ COOCO0 ARG, CHIE S PREY Fed VEN GaTY-4o)
B. Defendant: PORTERS Revi Bcs.ed= Suite A
Tite; QLIREa, PRORGRAD PARo COA Gta ON
place of Employment: I Sa THAREONSY SIP Teld HM CON
C. Defendant: E.0Rss |
Tite: Parole agects |
place of Employment: BEBO LI. VMFords MVR Vniiea Go, T\\ Lobo

é

(Ht you have more than three defendants, then al) additional defendants must be listed
according to the above format on a separate sheet of paper.) .

 
Dd : 1:06-cv-00 Wt: 1 Filed: 01/24/06 P 3o0f11P ID #:3
@ & SReRRSO Re URES : iled: 01/24/ age 30 age :
“Derendany, SE

coRdle_ OOBMNS

~Tahleg SURERNASER OTE

dpa COMO EN MAY
69 UO:

ARCA
“Place. c& EmPoument® RAISO 02: MORE

E, Hecendarh’ rr

Res
Dae OF EMA $$

 
 

Case: 1:06-cv-00420 Document #: 1 Filed: 01/24/06 Page 4 of 11 PagelD #:4 |

Wl. Exhaustion of Administrative Remedies

You are required to exhaust all your available administrative remedies before bringing
an action in federal court,

A.

dD.

Is there a grievance procedure available at your institution?

YES (4 NO ( ) If there is no grievance procedure, skip to F,
Have you fi ied a grievance concerning the facts in this complaint?
YES Ww NO ( ) |
If your answer is YES:

! What steps: did you take?

ERE A AHNOE hare ak Slate rate Grd Wreul War
Hed We cend SA “ko Sect Peel CM ARE hd ORORSACOLA LD
Qe ons) loaned, Tee (NOR. REA WI O04 rere chee ROWED ford

Wao Result at od, COLAS Kuen
Wey ded Ron por back rou ddd not Snow

Kd ReeeF Ae conch hosRON gud SUEY Aad mye te Confad
he RECO OPES ciate

3. If the grievance was not resolved to your satisfaction, did you appeal?

What was the result (if there was no procedure for appeal, so state.)

Yeas ?did appeal do. tex. head txeirseclor beck

She 2S Rowing @ lous Adcmorskeatave Lure

Qnd WHALE ASK hero We MORE Sequanca Eeom
DYE Cause “hey Peak Gono reokF-totho Ndmeng RSROAR UC 6

If your answer is NQ, explain why not:

F

 

 

 
 

 

Case: 1:06-cv-00420 Document #: 1 Filed: 01/24/06 Page 5 of 11 PagelD #:5

E. Is the grievance procedure now completed? YES ( VT NO ( )

F. If there is no grievance procedure in the institution, did you complain to

authorities? YES (S NO ( )

G, If your answer is YES:

1. | What steps did you take?

Filed @ Qrante and Sent AL to Ane. had |
WAGRAIR MA DSL Ao When SEARLE Ko Sew,

Taeld >

2. What was the resulr? =e | V2 oad uracdon sont anak

and had Wee <6 Sond BAO. SOELAReL Pare

“FUR Borede RULS SSE Atessnet kook
WAKA KW PelReF On Ve

H. If your answer is NO, explain why not:

 

 

 

 

 

 
 

ree eee
é Case: 1:06-cv-00420 Document #: 1 Filed: 01/24/06 Page 6 of 11 PagelD #:6

r

Vv. List ALL Jawsuits you (and your, co-plaintiffs, if any) have filed in any state or
federal court (including the Central and Southern Districts of Mlinois):

‘ . { \
A. Nameof case and docket number: ! (Y a ' ul ; fn : we Rendle" Seth

a el ALE
— he

Treateech-«:; Toe
B. Approximate date of filing lawsuit: _\- \2-O6

 
 
    

  

 

4

| , |
C. _List all plaintiffs (if you had co-plaintiffs), including any aliases: : : is ' ine 3 vO
t/ “A ro ‘ — .
x ete ABC enc ARCe Red,

A QOCE Loser oN Same. §

 

BSRITCE, MGC CaAS PolAl6 DePOVQNe \sk DISER CK »

 

 

E. Court in which the lawsuit was filed (if federal court, name the district; if state

court, hame the county): Noecnned Reke Qty, E.asbe rh QRvyswon

E. Name of judge to whom case was assigned: _\ Ott Kenous thot Se \c, io

mute cxrk OO 1-12-06 Cor Seite

G Basic claim made: {Vtg. ound vu \olle SSTEHER UN a
GAD PASCO. That bet re. bles)
=e Bismos dolce thay Werle Uae oe

AY yk FO
URNA A Pawn (Sis «

H. Disposition of this case (for example: Was the case dismissed? Was i “appealed? ’
is it still pending); _ QAYS SARA Perdkng QS RRA V JOU.

 

 

 

H. Approximate date of disposition: A/O We Ot al,

IF YOU HAVE FILED MORE THAN ONE LAWSUIT, THEN YOU MUST DESCRIBE
THE ADDITIONAL LAWSUITS ON ANOTHER PIECE OF PAPER, USING THIS SAME
FORMAT. REGARDLESS OF HOW MANY CASES YOU HAVE PREVIOUSLY hiLED,
YOU WILL NOT BE EXCUSED FROM FILLING OUT THIS SECTION COMPLETELY,
AND FAILURE TO DO SO MAY RESULT IN DISMISSAL OF YOUR CASE. CO-
PLAINTIFFS MUST ALSO LIST ALL CASES THEY HAVE FILED.

5

 

D. ‘es all defendanss: CVLY OE Ch (ao, Arshaay Parsee peerakn tit \eh

 

 
 

EEE ———————e_ mf

Case: 1:06-cv-00420 Document #: 1 Filed: 01/24/06 Page 7 of 11 PagelD #:7

   
   
   
 
 
 
  
 
  
   
 
 
 
 
 
 
 
 
 

V. Statement of Claim:

State here as briefly as possible the facts of your case. Describe precisely how each
defendant is involved. Include also the names of other persons involved, dates, and
places. Do not give any legal arguments or cite any cases or Statutes. [f you intend
io allege a number of related claims, number and set forth each claim in a separate
paragraph. (Use as much space as you need. Attach extra sheets if necessary.)

On) 1-54-05 Od Sta her. ) 002.8 Cel 998, Fle 3nd,% REeeinred
a. airs SayS ng FEbho dso, tes Soe, The PRMENER Rakiow Brned
OALI-98-05, hare Gd Draken nite, Copguc onal GAkue ct 4200 em
Gnd coo eo Leto OL 2 Cecorleny UsbMeMmer..te Cem—or.c
Arcana! Keoock Vom a, cine Fe 02 tpabole Sehecdited heaang
dake. Bul Yaw Jovy aan fs’ soa te Mice ROA? COR tee
ed. LroteSav ening aad Po ULO0 ALie teddy | > Ceoetiel Canta Wy
(obtennan Ge ottocned to Lome, Iskoe am RW was fo HOtday and
SPRAATVAA LIAS Adena Fee the Woo, I0d You dent: Set oo Prana
Cad Wore ck SeCrrevGe Jour oe G SoHo God 4 Ud NGULEY
S Cariid Coll WEL Wthesess utr On| 28-05 When § Sau loc
TREN Leo. FRAEENEZ Rela” lodged T told lex to Quo.Me O Cr
Cotiterknatal, So 2 Cauda Lonkaak WHY usdssreanen Gat Aor ANdSre
AK GOAS \ranka She ROARS Ao Hey Ch \neaLnig POALLONL FoR a rrorkne
AEN OF ON TAOS WI.OUVA Dod We DAA ak GLE Cand Cet Ede not
eh KO, RDA tO. VY, doggy Declare Yo PRO 4 LULA NOb
Quek. of COU Paeoke WOLLet Dan Vora Ay agent Said &

ila phys OF Qi OF Hur OAK 02, Se aR Ou
Parole. ons Syvo Gard bo nics ou DROQI02, UthaL ene 4

Wow) Moadod 84 done, ho Youve V-rhan sshw, Stetod Bek Ott oF
ut OL EQ TO.G,A6I W2feco rane 0 HR cok Were ONYOY «

 

 

 
 

 

 

_

Case: 1:06-cv-00420 Document #: 1 Filed: 01/24/06 Page 8 of 11 PagelD #:8

 
  
 
   
    
    
  
  
  
  

Bate 2. 00 ocr Some Nees F_FRted Gude G Aue ad seat eh -bo Wg.
oadt Cueuedon hore. om A Bw SOM BLOOM Gnd tol Me tO Sens Y bo
“egenngegeld Cor Beshon Wor2e Ande Sent Wok and Wwe Sega.
Docrimenk’s WRWW DI On \-[b-06 &_ Ape a Race look Feom
“SeRRO Feely Louk “Ane A fd Wak SAO MAW BelRRE OA Ie Kea ane
and Hor steumped ant Yo legat ACILMORES & GEMEARUCMN ANA Sant-Yrom
pee ro mariah Walt NO Relief and Told Me-Lo Commack Retarded
eccene Waee hee. hop Weds The Feinsnne RasLious losaws Molde

ma at icin pA}S GR C VLAG OMLARRROM? HAS
a |S PRacROg Waza lt Te Wierda Waee Open YHA CERLANA Gut
Sn GOH? SwnLoee ANAT RE Ladichey) M4 Federal pani out CRRA
WH legal, Malt, « ALRO-WWp Qoaa0 (WY Parrote Cua Kady
“Yap POR KL en roagare Coad. Wid Sueaveseeoeregel ad EN
\Trnoddtd ied ada Wwe oeqat fons Chee MoAIn nny Purote Nas
PoQoek, Wok pra. holdin O Quunicu ven! Foon DCPS. ilesalae and
anita to eu 20 Company With hug cd Nnek UCR. Ge Then WY
foede ager S., CREIR! and WS TAWA NOR Ssreted ea) CU LOL
Re poet Wael Wer Come ak Ae WU anil, G-16-O5 lqaang
Foe mg and Reace cd the house KA Aka vo Skoy Hrrewe
CNY WUERO,\eurk “Wrrk WINE AAR» Trot Yrey Groce, & gah} RES
WB aod Cian VORA to WW Rarslolw aed. Wer AEN Oink
\rompseng becancae ate or trom és aod Thay Vellotton iu ieecy
Reali, Gnd ConstarMnan PANS FoR Not lelpag Me Stee ah ony
hoe ONE A OMENS MZ SUTOAE MY, Bananas AMG. Nod Ertof

SS OR Jauyerr LOMLONA. & Than, AWS Sees
letrne, CQ me TM, ROSES GAA SIGHS Gna un carssrwrIyan ra

   
 

  

 

 
 

ne re

Case: 1:06-cv-00420 Document #: 1 Filed: 01/24/06 Page 9 of 11 PagelD #:9

t

VI. Relief:

State briefly exactly what you want the court to do for you. Make no legal arguments.
Cite no cases OF statutes.

ccc te be lo S00 Dollee's enor daw belag aod
Ub 20 Pea neon, Tansey Fen ho Feast how \oo'ing, core abond
ONY Parole. ULould ate (Ve Wu Pe Prcoiegase SS

RVs Ao be feo ond MC Ae LoD « ULowwtd abo | vo
FEU, ROUPAGHOR Fes Sra Wiry, & rave UWLORL.» @ Lent
Buk OF CW OF WAS HAZEWD.O Hallas and a Wa Cak

JOOS LAs and Wat WRU oe ole

 

 

 

 

 

 

1 declare under penalty of perjury that all facts .
given in the complaint are true and correct.

Signed this  \3 day of Sanat, 406 6_
ewok Muaahty, earch

 

 

(Signature of plaintiff or plaintiffs)

 

 

 

(.D. Number)
Povo « WB.
wee@\e+, 1, ouzy

 

— CaN) IRS—13S Phene auenboer

(Address)

 

 

 
 

 

Case: 1:06-cv-00420 Document #: 1 Filed: 01/24/06 Page 10 of 11 PagelD #:10

STATE OF ILLINOIS )
)Ss
COUNTY OF COOK _)

AFFIDAVIT

4

I, Doan, Mo nnoy? esis first duly sworn under oath depose and stale
that the foregoing is true and correct and made upon my personal knowledge and I
am competent to testify thereto.

Of) I-34 05% Receaved c Neasce Soufng My Pagole hoaranquscs
ON IE-05 old ON Luanne 7+ Soed hame.niy unhinged HORS
Contcct tHyecn WEN 0 Uso, laefore: ‘he \nenget,-But Heck ia
— Oeu¥ia Ae M2 14800, ‘nan eewing QNd + V2As Alo Lo) 9 Could Commackeny
ustiniesses. ble Priioeten| 49. ebb ky hey? tt 02. ou hearing, bbe
You dat woe the Phene Lit One Moo GA ShatevUles Ur OOlkwos
£0,6 tetd Pro Lady Lis LLNS dogg Ye Ean, {Wort
Fmeed Vr ira ne Creed Renal 6° Pek pase GOS Cm Comcer OY uakes
God Btkoe tien ANd Sha Sakd Me and ¢ oid her ghad the Bequtto gehmy
reaesng postpene. Fot_o mnettha. Told hur @ had leaal Documents 40 let
het see jo Prove me Not 9 quelt GE MY Pane Vyorlakaan anes “hon eeah},
Feo met. could DH Sel rem be Adley Thon 3 ek hee Whol da she
nae Oh WO Meo nd < che det Ler ty Glass SAGAR, Ua ALLY
ded yousrecies Pond old ire get autor od NSE Poce Yor) MI2deQCR \neKene
@ vo. a ARCKeh weeks On Ske 1 MOE SURA Ug ddd IY Lon can Aaron each

  
  

CUOd, ON \gs We SPEAK Ab AY Looks, AOA Se
NSS Neda ee OR GAA RA and wwe. BYR ONO TRE eee deokhatee,
TOL Wrartgne Oe TReedann OF A Seek RY as

SUBSCRIBED AND SWORN TO BEFORE ME
THIS tas DAY ppl 208 6

NOTARW PUBL,

 
     
   

Crystal L. Mason
Notary Public, State of [llinois
My Commission Exp. 11/10/2008

 
e
Pace. Case: 1:06-cv-00420 bocheeR Nays. d: 01/24/06 Page 11 ole 1 pee HAL dy | 4 fond
Than lokee on ava cou & FRil OO OH AVNOML Od Spi Sy eC TES ecent She lex
mek AN We Nearer, @ dek O Seeders wseeont tere Tad Saath AQ&Qoh cathe,
V AA 3 3
No etter any Ma eg SBS Alt Ake. | leseal DOCUyieness TO Re Re Rea hanlot a! AI AGE

F mano XS
SAVES baey one do oR SS RAR NRE

pom
SPAS. Cds iQel4 Vane exe Now CHANTY PR Pagnds Go . : Loe
eae Neneteb ers: sed \\S ond eee es \ Ne "TOE peers
© O
en MY Poete Wanted ERE ANA SARAR \gaite NES ZF §udnor & cogeed +o KY

NS
benaqen queses Thay leo RRARNC LB Ned

Feat tees coatatts ast
OH \Rer Than Specie cng Ne, (eS

Canne bo COW Wen 02 ONANNG Ps we SSL Vete Oe at ee ee Wa
CAIN INBUSE ENS OR SS godly re Qeane Ae ER | CR, . MARRS SE
See Tee ron aed Aad Bre ee — Ske NRE CURLERS Od W

pers 2 TALON kuve the Re
Yat cll Nee RRO ne oe AON ao SAN Aa ees

ois :
BO SARNREH VTS * NY SON Oa RAN Salt BSA OW ABB LOS FR ODT |
Te Ae. WK A ese ea an
QA, OE. aod TY Peel

 
